k Case 3:98-cr-30044-I\/|AP Document 196 Filed 01/05/00 Page 1 of 1

'l'HE uNITEL) STATES DISTRLCT c:C)URT FQR F~,,…,_.,
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Wcstern Ser.:tion L,~W: u','l`- _¢ 1 m n

Crim,No_ 98-30044~MAP ‘ ~*' ~-

THE UNITED STATES1 PlaintiH`,

v,
KRISTEN GILBERT, Def`endant. @/:),

DEFENDANT`S MGTION IN UMINE TO
EXCLUDE 'I`HE TESTIM(}NY ()F THE G{)VERNMENT`S
'l`OXlCOL()G[ST, IFREDERIC RTEDERS, PH_D., AND
SUPPORTING N[EMORANDUM OF LAW.

(HL-;AMNG RE.QUESTED)

 

 

Appearlng for the Det`endant, Kristc:n Ciilbert;

I-Iarry L. Miles, Esq., and [)zwid P. l-louse, Esq.

Green, Mifes, Liprrm, White &. Fr`tz-Gihhc)n Katz, .S'as.wm, Hoo.se & 11.¢:'1'1!)1111

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